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 1                                                                  HONORABLE THOMAS S. ZILLY

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                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
     HUNTERS CAPITAL, LLC, et al.,
10                                                     Case No. 20-cv-00983
                           Plaintiffs,
11                                                     CITY OF SEATTLE’S NOTICE OF
                v.                                     ASSOCIATION OF COUNSEL
12
     CITY OF SEATTLE,                                  CLERK’S ACTION REQUIRED
13
                           Defendant.
14

15   TO:    THE CLERK OF THE COURT; and

16   TO:    ALL PARTIES OF RECORDS AND THEIR ATTORNEYS.

17          PLEASE TAKE NOTICE that the undersigned counsel, Bryn R. Pallesen of the law firm

18   Harrigan Leyh Farmer & Thomsen LLP, hereby associates with Joseph Groshong of the Seattle

19   City Attorney’s Office on behalf of the City of Seattle in the above-captioned action, and requests

20   that service of all papers and pleadings herein, except original process, also be made upon the

21   undersigned at the address stated below.

22          DATED this 14th day of January, 2022.

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     NOTICE OF ASSOCIATION OF COUNSEL - 1                                              LAW OFFICES
                                                                       HARRIGAN LEYH FARMER & THOMSEN LLP
     (Case No. 20-cv-00983)                                                   999 THIRD AVENUE, SUITE 4400
                                                                              SEATTLE, WASHINGTON 98104
                                                                           TEL (206) 623-1700 FAX (206) 623-8717
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 1                                          HARRIGAN LEYH FARMER & THOMSEN LLP

 2                                          By: s/ Bryn R. Pallesen
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 6
                                            Attorney for City of Seattle
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     NOTICE OF ASSOCIATION OF COUNSEL - 2                                       LAW OFFICES
                                                                HARRIGAN LEYH FARMER & THOMSEN LLP
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